                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           No. 3:12-00013
                                               )           JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                    )

                                           ORDER

       Pending before the Court are the following motions filed by previous counsel for

Defendant Vichitvongsa: Motion In Limine To Exclude Evidence Of Prior Arrests And

Convictions (Docket No. 302); First Motion In Limine To Exclude Evidence Of Past Or Present

Gang Membership (Docket No. 303); Joint Motion In Limine For Additional Peremptory

Challenges (Docket No. 306); and Motion To Exclude Government Expert Reports And, In The

Alternative, Request For Daubert Hearing (Docket No. 307).

       On or before August 8, 2013, current counsel for Defendant Vichitvongsa shall file a

notice with the Court indicating whether the Defendant intends to proceed with these motions.

       It is so ORDERED.

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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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